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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


RENO COVA, et al.,                         )
                                           )
                Plaintiffs,                )
                                           )
          vs.                              )          Case No. 4:16-CV-675-CEJ
                                           )
CHARTER COMMUNICATIONS, INC.,              )
                                           )
                Defendant.                 )

                                        ORDER

      In accordance with the plaintiffs’ notice of dismissal,

      IT IS HEREBY ORDERED that the Clerk of Court shall make an entry in the

docket record reflecting the dismissal of this action without prejudice.   Fed. R. Civ.

P. 41(a)(1)(A)(i).

      The parties shall bear their own costs.




                                                CAROL E. JACKSON
                                                UNITED STATES DISTRICT JUDGE

Dated this 17th day of August, 2016.
